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LAW GROUP, P.A.

 

1515 S. Federal Hwy, Suite 404 l Boca Raton, Florida 33432
www.shavitzlaw.com

FACS]]\/IILE TRANSMITTAL COVER SHEET

TO: Frank J ames McKeown, Jr., Esq.

FAX NO.: 561-688-9985

lN RE: Sullivan v. Lana Marks, et al.

FROM: Gregg l. Shavitz, Esq. / Stacey H. Cohen, Esq.
NUMBER OF PAGES: _ 2_ (lncluding transmittal coversheet)

DATE TRANSMITTED: September 4, 2007

Frank:
Please flnd the attached e-majl for your review.

Stacey

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EXH|B|T

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From: Stacey Cohen

Sent: Tuesday, September 04, 2007 4:11 AM
To: Stacey Cohen; 'frankmckeown@juno.com'
Cc: Gregg Shaviiz

Subject: RE: Su\\ivan

Frank:
| hope your holiday weekend was enjoyab|e_p|ease let me know about the agreement and
payment date, as referenced below.

Thnx.

Stacey

 

From: Stacey Cohen

Sent: Friday, August 31, 2007 2:14 PM
To: 'frankmckeown@juno.com‘

Cc: Gregg Shaviiz

Subject: Su||ivan

Frank:
We faxed you the revised agreement yesterday- just want to know that you are in agreement and
| can get my clients’ signatures and that money wi|| be forthcoming 9/10.

P|ease advise.

Thnx_

Stacey H. Cohen, Esq.

The Shavitz LaW Group, P.A.

1515 South Federal Highway, Suite 404
Boca Raton, Fl. 33432

Tel: (56]) 447-8888

FaX: (561) 447-8831

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